       Case 18-22563            Doc 16        Filed 09/26/18 Entered 09/26/18 16:18:17                        Desc Main
                                                 Document Page 1 of 1

                                             United States Bankruptcy Court
                                          Northern District of Illinois, Eastern Division

IN RE: Tiffany N. Berry                                           )            Chapter 13
                                                                  )            Case No. 18 B 22563
         Debtor(s)                                                )            Judge Timothy A Barnes

                                                       Notice of Motion

     Tiffany N. Berry                                                          Debtor A ttorney: David M Siegel
     6242 S Carpenter                                                          via Clerk's ECF noticing procedures
     Chicago, IL 60621


                                                                               >   Dirksen Federal Building
On October 04, 2018 at 10:30 am, I will appear at the location listed to the   >   219 South Dearborn
right, and present this motion.                                                >   Courtroom 744
                                                                               >   Chicago, IL 60604
I certify under penalty of perjury that this office caused a copy of this
notice to be delivered to the persons named above by U.S. mail or by the
                                                                               /s/ MARILYN O. MARSHALL
methods indicated on or before Thursday, September 27, 2018.
                                                                               MARILYN O. MARSHALL, TRUSTEE

                                   Motion to Dismiss Case For Unreasonable Delay

Comes now Marilyn O. Marshall, Standing Trustee, and requests that this case be dismissed, as Debtor(s) failed to file the
required documents pursuant to 11 USC §521, §1307, §349, and Rule 3015, and in support thereof states the following:

1.   Debtor(s) filed for Chapter 13 on 08/10/2018.

2.   The debtor(s) have failed to provide an Affidavit of Compliance.

3.   The debtor(s) have failed to attend one scheduled §341(a) meeting of the creditors

4.   The debtor(s) have failed to provide required identification and or social security documentation.

5.   The debtor's failure to confirm a plan in a timely manner constitutes unreasonable delay.

WHEREFORE, the Trustee prays that this case be dismissed, and for any and all other relief this court deems just and proper.


Office of the Chapter 13 Trustee                                               /s/ MARILYN O. MARSHALL
224 S Michigan Ave                                                             MARILYN O. MARSHALL, TRUSTEE
Ste 800
Chicago, IL 60604
(312) 431-1300
